Case 3:25-cr-30026 Document 25 Filed 04/17/25 Page1of7

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

| ae Ravn D RiGee
UNITED STATES OF AMERICA ) Criminal No. 25-CR-300.2/2-MG
) Violations:
V. )
) Count One: Felon in Possession of Ammunition
Defendant ) Count Two: Felon in Possession of Explosive

) Materials
(18 U.S.C. § 842(i)(1))
) Firearm and Ammunition Forfeiture Allegation:
(18 U.S.C. § 924(d); 28 U.S.C. § 2461(c))
) Explosive Materials Forfeiture Allegation:
) (18 U.S.C. § 982(a)(2)(B); 18 U.S.C. § 844(c):
28 U.S.C. § 2461(c))
)

INDICTMENT

COUNT ONE

Felon in Possession of Ammunition
(18 U.S.C. § 922(g)(1))

The Grand Jury charges:
On or about April 8, 2025, in the District of Massachusetts and elsewhere, the
defendant,
JACOB D. MILLER,
knowing that he was previously convicted in a court of a crime punishable by imprisonment for a
term exceeding one year, did knowingly possess, in and affecting commerce, the following

ammunition:
Case 3:25-cr-30026 Document 25 Filed 04/17/25 Page 2of7

a. approximately fifty rounds of Federal brand, American Eagle .45 auto, 230
grain ammunition;

b. one blue box of 50 rounds of .308 ammunition;

c. one round of .22 caliber ammunition;

d. six boxes of 35mm ammunition;

e. four boxes of .22 caliber ammunition;

f. seven rounds of 12 gauge ammunition; and

g. five rounds of .30-40 ammunition.

All in violation of Title 18, United States Code, Section 922(g)(1).
Case 3:25-cr-30026 Document 25 Filed 04/17/25 Page 3of7

COUNT TWO
Felon in Possession of Explosive Material
(18 U.S.C. § 842(4)(1))

The Grand Jury further charges:
On or about April 8, 2025, in the District of Massachusetts and elsewhere, the
defendant,
JACOB D. MILLER,
knowing that he was previously convicted in a court of a crime punishable by imprisonment for a
term exceeding one year, did knowingly possess, in and affecting commerce, explosive material,
that is, GOEX black powder and WANO black powder.

All in violation of Title 18, United States Code, Section 842(i)(1).
Case 3:25-cr-30026 Document 25 Filed 04/17/25 Page 4of7

FIREARM AND AMMUNITION FORFEITURE ALLEGATION
(18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c))

The Grand Jury further finds:
1. Upon conviction of the offense in violation of Title 18, United States Code,
Sections 922(g)(1), set forth in Count One, the defendant,
JACOB D. MILLER,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)(1), and
Title 28, United States Code, Section 2461(c), any firearm or ammunition involved in or used in
any knowing commission of the offense. The property to be forfeited includes, but is not limited
to, the following:
a. approximately fifty rounds of Federal brand, American Eagle .45 auto,
230 grain ammunition;
b. one Remington Model 514 rifle;
Cc. one Remington Sportsmaster Model 511 rifle;
d. one O.F. Mossberg and Sons No. 44B long gun;
e. one Marlin Family Firearms Company rifle with Serial No. V314525;

f. one Remington Model 12C, .22 rifle, Serial No. 497525;

g. one J. Stevens Arms Company Single Gun;

h. one blue box of 50 rounds of .308 ammunition;
i. one round of .22 caliber ammunition;

j. six boxes of 35mm ammunition;

k. four boxes of .22 caliber ammunition;

4
Case 3:25-cr-30026 Document 25 Filed 04/17/25 Page5of7

l. seven rounds of 12 gauge ammunition; and
m. five rounds of .30-40 ammunition.

2. If any of the property described in Paragraph 1, above, as being forfeitable pursuant
to Title 18, United States Code, Section 924(d)(1), and Title 28, United States Code, Section
2461(c), as a result of any act or omission of the defendant --

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty;

it is the intention of the United States, pursuant to Title 28, United States Code, Section 2461(c),
incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other property
of the defendant up to the value of the property described in Paragraph 1 above.

All pursuant to Title 18, United States Code, Section 924, and Title 28, United States Code,

Section 2461.
Case 3:25-cr-30026 Document 25 Filed 04/17/25 Page 6of7

EXPLOSIVE MATERIAL FORFEITURE ALLEGATION
(18 U.S.C. § 982(a)(2)(B),18 U.S.C. § 844(c), and 28 U.S.C. § 2461(c))

The Grand Jury further finds:

1. Upon conviction of the offense in violation of Title 18, United States Code, Section
842 set forth in Count Two, the defendant,

JACOB D. MILLER,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(2)(B),
any property constituting, or derived from, proceeds obtained, directly or indirectly, as a result of

such offense, and pursuant to Title 18, United States Code, Section 844(c) and Title 28, United
States Code, Section 2461(c), any explosive materials involved or used or intended to be used in
the offense. The property to be forfeited includes, but is not limited to, the following:

a. four bottles of GOEX black powder; and
b. one bottle of WANO black powder.

2. If any of the property described in Paragraph 1, above, as being forfeitable pursuant
to Title 18, United States Code, Section 982(a)(2)(B), Title 18, United States Code, Section 844(c),

and Title 28, United States Code, Section 2461(c), as a result of any act or omission of the

defendant --
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty,

6
Case 3:25-cr-30026 Document 25 Filed 04/17/25 Page /7of7

it is the intention of the United States, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Section 982(b)(1) and Title 28, United States Code,
Section 2461(c), to seek forfeiture of any other property of the defendant up to the value of the
property described in Paragraph 1 above.

All pursuant to Title 18, United States Code, Section 982(a)(2)(B), Title 18, United States

Code, Section 844(c), and Title 28, United States Code, Section 2461(c).

A TRUE BILL

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FOREPERSON

STEVEN H. BRESLOW
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF MASSACHUSETTS

District of Massachusetts: April 17, 2025 ant a i S32 cw

Returned into the District Court by the Grand Jurors and filed.

